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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                 *
CASA DE MARYLAND, INC., et al.,

         Plaintiffs,                             *

    v.                                           *           Civil Action No. 8:20-cv-02118-PX

                                                 *
CHAD F. WOLF, et al.,                            *

         Defendants.                           *
                                              ***
                                             ORDER

         Upon consideration of the pending motion for preliminary injunction or a stay pending

judicial review, ECF No. 23; the memoranda in support and opposition to this motion, and the

exhibits thereto; the arguments presented at hearings on August 14 and August 28, 2020; the

final rules, see “Removal of 30-Day Processing Provision for Asylum Applicant-Related Form

I–765 Employment Authorization Applications,” 85 Fed. Reg. 37,502-37,546 (June 22, 2020)

(“Timeline Repeal Rule); and “Asylum Application, Interview, and Employment Authorization

for Applicants,” 85 Fed. Reg. 38,532-38,628 (June 26, 2020) (“Broader EAD Rules”); and the

full record herein, it is hereby

         ORDERED that Plaintiffs’ motion at ECF No. 23 is GRANTED IN PART AND

DENIED IN PART; and it is further

         ORDERED that Plaintiffs’ motion for a preliminary injunction at ECF No. 23 is

GRANTED as to the following rule changes:

         -   The Timeline Repeal Rule, 85 Fed. Reg. at 37,545 (printing parts of the
             regulations to be codified at 8 C.F.R. § 208.7(a)(1));

         -   The 365-day waiting period, 85 Fed. Reg. at 38,626-28 (referenced throughout and
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           as codified at 8 C.F.R. § 208.3(c)(3); § 208.7(a)(1)(ii), (a)(1)(iii)(E), and (b)(1)(i);
           and § 274a.12(c)(8));

       -   Removal of “deemed-complete” rule, 85 Fed. Reg. at 38,626 (codified at 8 C.F.R.
           § 208.3) (omitting instruction that if the agency has not “mailed the incomplete
           application back to the applicant within 30 days, it shall be deemed complete.”).

       -   The discretionary review rule, providing that agency is no longer required to issue
           EADs to eligible asylees, 85 Fed. Reg. at 38,628 (changes reflected at 8 C.F.R. §
           274a.13(a)(1)).

       -   The one-year filing bar, 85 Fed. Reg. at 38,626 (codified at 8 C.F.R. §
           208.7(a)(1)(iii)(F)).

       -   The rule requiring submission of biometric information as part of EAD
           applications, 85 Fed. Reg. at 38,626 (codified at 8 C.F.R. § 208.7(a)(1)(i) and
           (a)(1)(iv)(E); id. § 208.10).

       ORDERED that the defendants shall be PRELIMINARILY ENJOINED from enforcing

the above rule changes against all members of the Plaintiff organizations Casa de Maryland,

Inc., and Asylum Seekers Advocacy Project, and it is further

       ORDERED that Plaintiffs’ motion for a preliminary injunction at ECF No. 23 is

DENIED as to all other changes within the Timeline Repeal Rule and Broader EAD Rules that

were not expressly listed above; and it is further

       ORDERED that Plaintiffs’ motion for a stay pending judicial review at ECF No. 23 is

DENIED; and it is further
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       ORDERED that the motions for leave to file amicus curiae briefs filed by the

Constitutional Accountability Center (ECF No. 38); Kids in Need of Defense (ECF No. 39);

Morton Rosenberg (ECF No. 40); the District of Columbia and the State of New York, among

other states (ECF No. 42); and the Oxfam America and the University of Maryland Carey

Immigration Clinic (ECF No. 44) are GRANTED.


_9/11/2020__________________                      ______/S/_________________
Date                                              Paula Xinis
                                                  U.S. District Court Judge
